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  1                         UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
  2                               Alexandria Division

  3     UNITED STATES OF AMERICA,              :     Criminal Case
                                               :     No. 20-CR-00239-TSE
  4                       Plaintiff            :
                   v.                          :
  5                                            :
        EL SHAFEE ELSHEIKH,                    :     April 14, 2022
  6                                            :     10:00 a.m.
                       Defendant               :
  7     ..............................         :     ........................

  8                         TRANSCRIPT OF TRIAL PROCEEDINGS
                                JURY NOTES AND VERDICT
  9                      BEFORE THE HONORABLE T.S. ELLIS, III
                             UNITED STATES DISTRICT JUDGE
 10                                   and a jury

 11       APPEARANCES:

 12       FOR THE PLAINTIFF:                RAJ PAREKH
                                            JOHN T. GIBBS
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                                            (APPEARANCES CONTINUED ON
 25                                         FOLLOWING PAGE.)




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                                      ( Pages 1 - 36)
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 10
                  COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES
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  1                              P R O C E E D I N G S

  2                THE COURT:    Good morning.     This is United States

  3      against El Shafee Elsheikh, 20-CR-239.         And the jury will

  4      continue their deliberations.       I'm going to have the jury

  5      brought in.    I didn't note that the defendant and his counsel

  6      and the counsel for the government are present.

  7                I always convene the jury in the morning of a

  8      several-day matter.     Other courts simply have them show up and

  9      begin their deliberations.      Nothing wrong with that in law, but

 10      I don't do it that way.

 11                (Jury in at 10:01 a.m.)

 12                THE COURT:    Good morning, ladies and gentlemen.           As we

 13      always do, we will begin with the calling of the roll by the

 14      deputy clerk, and then I will excuse you to return to the area

 15      in which you're deliberating so that you can continue your

 16      deliberations.

 17                All right.    You may call the roll, please.

 18                COURTROOM CLERK:     Juror Number 50, Laura Ann Younger.

 19                JUROR:    Present.

 20                COURTROOM CLERK:     Juror Number 29, Wayne Phoel.

 21                JUROR:    Present.

 22                COURTROOM CLERK:     Juror Number 3, James Bailes.

 23                JUROR:    Present.

 24                COURTROOM CLERK:     Juror Number 20, Alfred Keyser.

 25                JUROR:    Present.




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  1                COURTROOM CLERK:     Juror Number 50, Esthar Zangeneh.

  2                JUROR:    Present.

  3                COURTROOM CLERK:     Juror Number 22, John Kugelman.

  4                JUROR:    Present.

  5                COURTROOM CLERK:     Juror Number 26, Jennifer Murray.

  6                JUROR:    Present.

  7                COURTROOM CLERK:     Juror Number 14, Mirenda Fields.

  8                JUROR:    Present.

  9                COURTROOM CLERK:     Juror Number 14, Anne Fay.

 10                JUROR:    Present.

 11                COURTROOM CLERK:     Juror Number 10, Erica Denham.

 12                JUROR:    Present.

 13                COURTROOM CLERK:     Juror Number 30, Camille Morrison.

 14                JUROR:    Present.

 15                COURTROOM CLERK:     Juror Number 47, Adrian White.

 16                JUROR:    Present.

 17                THE COURT:    Once again, good morning ladies and

 18      gentlemen.    I hope you had a restful evening and that you were

 19      successful to put the matter out of your mind.

 20                As always, I will ask whether there were any of you

 21      that were unable to adhere to the Court's instructions to

 22      refrain from discussing the matter among yourselves or with

 23      anyone, or undertaking any investigation on your own.               If you

 24      were unable to do that, raise your hands.

 25                The record will reflect no hands are raised.              As




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  1      usual -- not as usual.       Contrary to the usual practice, I won't

  2      tell you to refrain from discussing the matter among yourselves,

  3      because now you must go back and continue your deliberations.

  4      And as I've told you before, you may deliberate as long or as

  5      little as you like.      That's entirely up to you.

  6                  You may take breaks whenever you wish, but if one of

  7      you has to be absent to go to the facilities or use the men's

  8      room or ladies' room or whatever, you must cease your

  9      deliberations.     You can only deliberate - by that I mean you can

 10      only talk about the case - when all 12 of you are present and

 11      the door is closed.

 12                  All right.   You may follow the court security officer

 13      out and continue your deliberations.

 14                  (Jury out at 10:03 a.m.)

 15                  THE COURT:   All right.     Court stands in recess until we

 16      have a verdict or have another question or query from the jury.

 17      Court stands in recess.

 18                  (Recess taken at 10:04 a.m.)

 19                  THE COURT:   You may be seated.      We have two notes from

 20      the jury.    I'm going to read each note.        I will then have the

 21      court security officer show you what the notes say at the

 22      podium.   You can all look at them at the podium.

 23                  Then I will tell you what answers I propose to give,

 24      and then I will give each side an opportunity to tell me whether

 25      they agree with what I intend to say or whether what I intend to




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  1      say is wrong or should be amended or revised in any way.

  2                 Any questions Mr. Fitzpatrick or Mr. MacMahon?

  3                 MR. FITZPATRICK:    No, Your Honor.

  4                 MR. MACMAHON:    No, Your Honor.

  5                 THE COURT:   The first note is very straightforward.          It

  6      says:    "Can we get a written copy of the indictment, as the

  7      verdict form refers specifically to the indictment.           Thank you,

  8      Wayne Phoel."

  9                 The answer I propose to give to them is:         "Yes, you can

 10      have a copy of the indictment," but, and then I will give the

 11      instruction that I gave at the outset and gave in the interim,

 12      and, again, I'll give again, that the indictment itself is not

 13      proof or evidence of guilt of any kind whatsoever.           It's merely

 14      the government's form or means of accusing formally a defendant

 15      of a crime.

 16                 Now, you should consider the answer I've given and tell

 17      me if you think it should be modified or changed in any way.           I

 18      think telling them "no" is the wrong answer, because they are

 19      entitled to see the indictment if it's referred to.           It was

 20      referred to not just in the verdict form but in the

 21      instructions.

 22                 In any event, I'll give you an opportunity to do that,

 23      to think about that for a moment.

 24                 Now, the second note, the second note is by a different

 25      juror.   The second note is dated 4/14/2022.         The other one was




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  1      dated today, but this one has the time on it as well.               And it

  2      says:   "Should the language of Count 8, sub (B)," meaning

  3      subparagraph B, "read, quote, 'material support to a Foreign

  4      Terrorist Organization,' closed quotes, rather than to, quote,

  5      'terrorists,' closed quotes, when asking if death resulted?              As

  6      it now is stated, the language of 8(B) is the same as 7(B)."

  7      And that is signed Adrian White, Juror Number 47.

  8                Now, the answer to that is a little more complicated,

  9      but really quite simple.      They're right, the verdict form isn't

 10      as accurate, and that's my fault.        You-all did the verdict form,

 11      you told me you had agreed to it, and I did not give it the

 12      inspection it should have been given.

 13                They're quite right to catch that, because for Count 8,

 14      which now says, "Provide" -- of the verdict form, which now

 15      says, "provide material support to terrorists resulting in

 16      death," it should say, "provide material support to a Foreign

 17      Terrorist Organization."      And that should have been in both of

 18      them.   And they noticed that difference in the jury verdict

 19      form.

 20                All right.    Let me have the court security officer show

 21      it to counsel, both counsel at the podium.

 22                Mr. MacMahon, are you going to look at the notes?

 23                MR. MACMAHON:     Yes, Your Honor.     Thank you.

 24                THE COURT:    Well, I don't usually permit you to take

 25      the notes.    That's why I do it at the podium.




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  1                 MR. MACMAHON:    Okay.   Excuse me, Your Honor.

  2                 THE COURT:   Both of them at the same time.        I know it's

  3      a strange practice and habit of mine, but that's the way I've

  4      done it.

  5                 MR. MACMAHON:    As you wish, Your Honor.       Thank you.

  6      They're read exactly correctly.

  7                 THE COURT:   All right.     Now, I've told you what answers

  8      I intend to give, but, of course, if there's an objection or a

  9      suggestion to do it differently, I will be glad to do so.

 10                 Let me reiterate what I said I intend to tell the jury.

 11      The first one I think is relatively simple:          Can we get a

 12      written copy of the indictments, as the verdict form refers

 13      specifically to the indictments.

 14                 I don't think it refers specifically to plural

 15      indictments.    There's only one indictment.        But I could be

 16      wrong.   I'm not going to quibble about that.         But the answer to

 17      that is going to be:     "Yes.    But I hasten to instruct you, as I

 18      have before, that the indictment is only a formal means the

 19      government has of accusing a defendant of a crime.           It is not

 20      itself proof or evidence of guilt of any kind whatsoever."

 21                 MR. FITZPATRICK:      Your Honor, can we confer?

 22                 THE COURT:   Yes, you go first, Mr. Fitzpatrick.           Any

 23      problem with that answer?      You want to discuss something with

 24      them?

 25                 MR. FITZPATRICK:      Yes, briefly.




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  1                  THE COURT:   Yes, by all means you may do so.

  2                  MR. FITZPATRICK:    Thank you, Judge.      With respect to

  3      the question about the incorrect verdict form --

  4                  THE COURT:   Well, let's do the indictment first.         Then

  5      we'll go to that one.

  6                  MR. FITZPATRICK:    On the indictment, Your Honor, the

  7      parties would request that we just sent the formal statutory

  8      language portions of the indictment back, and not the overt acts

  9      or the --

 10                  THE COURT:   All right.     Is that a joint request by the

 11      government and the defendant?

 12                  MR. FITZPATRICK:    Yes.

 13                  MR. MACMAHON:    It is, Your Honor.

 14                  THE COURT:   All right.     That's a sensible request, and

 15      I will grant that request.       There's a lot of material -- that's

 16      why I didn't send it back.       And I don't want them poring over it

 17      like a Tora scholar trying to read something into it.

 18                  But I want you two, Mr. MacMahon and Mr. Fitzpatrick,

 19      and all of your phalanx of assistants, to get a copy of the

 20      indictment now and tell me what portions you want or will agree

 21      to send back to the jury.       And let's do it right now so that I

 22      can see it and decide whether I agree with you or not.

 23                  Now, I'll give you -- that shouldn't be difficult.         The

 24      overt acts are labeled.       Have you already done it, Mr. MacMahon?

 25                  MR. MACMAHON:    No, Your Honor.




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   1                THE COURT:    All right.    I'll give you a minute to do

   2     that.   Let's go to the second question.

   3                Now, Mr. Fitzpatrick, they clearly have spotted

   4     something that should have been spotted before, and, in my

   5     opinion, I think I will tell them that it's my error and that it

   6     should have said in 8(B), a Foreign Terrorist Organization.

   7                MR. FITZPATRICK:     Correct.   Correct.    I think it's in

   8     (A) and (B).

   9                THE COURT:    (A) -- well, yes.

  10                MR. FITZPATRICK:     So strike "terrorists" --

  11                THE COURT:    Well, actually, Count 8 says Foreign

  12     Terrorist Organization, as charged in Count 8 of the indictment.

  13     The problem is, when you go to 8(B), it only says "terrorists."

  14                MR. FITZPATRICK:     I think for both of the

  15     death-resulting options --

  16                THE COURT:    Yes, both of them need to be changed to

  17     Foreign Terrorist Organization.

  18                MR. FITZPATRICK:     Correct.

  19                THE COURT:    Do you agree, Mr. MacMahon?

  20                MR. MACMAHON:    Yes, Your Honor.

  21                THE COURT:    All right.    Now, I think it would be all

  22     right for me to prepare that page right now with the change,

  23     show it to you-all, and give that one page to the jury.             Any

  24     objection to that?      She's already done it.      Or they have already

  25     done it.




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   1                So take a look.     Let me hand this to the court security

   2     officer.    You may both look at it.      That's what I intend -- and

   3     I'm going to have the jury brought in and I'm going to tell them

   4     all of this, and I'm going to give them this one page to

   5     substitute for the page that they were given.          And the reason I

   6     do that is I don't know what they've written on the previous

   7     pages, and I don't want them to have to write everything all

   8     over again.

   9                All right.    I've disposed of the second question.          Now

  10     we go back to the first question.

  11                MR. FITZPATRICK:     Judge, if you would allow us, we have

  12     the indictment in electronic form on our system, so we could run

  13     down, make the appropriate redactions, show it to Mr. MacMahon

  14     and his team, and bring it back up.        I think we could accomplish

  15     that in 20 minutes.

  16                THE COURT:    Let's do it that way, then.       It may

  17     coincide with the fact that lunches were delivered.           I think

  18     what I'll do is bring them in now and tell them that we're going

  19     to provide them, and I'll tell them there will be redactions,

  20     because that's why I didn't send it back in the first place.

  21     But they are entitled to have, or they will be -- I don't know

  22     if I'll use entitled.      They will be able to have the indictment,

  23     the one indictment, and to use it.

  24                Mr. MacMahon, any changes?

  25                MR. MACMAHON:    No, Your Honor.




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   1                 THE COURT:   All right.     You may be seated.     Let's bring

   2     the jury in.

   3                 (Jury in at 10:43 a.m.)

   4                 THE COURT:   Ladies and gentlemen, I have your two

   5     notes, which I am going to read and respond to.           But let me

   6     note, more importantly -- not more importantly, but note

   7     importantly, your lunches have arrived.

   8                 All right.   The first note says:      "4/14/2022,

   9     11:10 a.m., Should the language of Count8, sub Part (B), read,

  10     'material support to a Foreign Terrorist Organization,' rather

  11     than 'to terrorists,'" in quotes, "when asking if the death

  12     resulted.    As it now is stated, the language of 8(B) is the same

  13     as 7(B)."    Signed by Adrian White, Juror 47.

  14                 The answer to that question is, you sharp-eyed people

  15     have found an error that I made.         It's my error.     And yes, it

  16     should be Foreign Terrorist Organization, and I am going to

  17     provide you with a revised final page of the verdict form that

  18     now, for 8(B), says Foreign Terrorist Organization for both of

  19     the blanks there.      And that's the question that you asked.

  20                 The second question is:      "4/14/2022, can we get a

  21     written copy of the indictments, as the verdict form refers

  22     specifically to the indictments.         Thank you, Wayne Phoel."

  23                 Yes.   The answer to the question is yes, you will be

  24     provided, but there will be redactions in the indictment, which

  25     is why you didn't get it in the first place.           Because as I




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   1     instructed you and emphasized at the outset, an indictment is

   2     not proof or evidence of guilt of any kind whatsoever, it's only

   3     the formal means the government has of accusing a defendant of a

   4     crime.

   5                 So I will provide it to you, perfectly all right.          It

   6     will have some redactions, and you may use it in any way you see

   7     fit, but it itself is not evidence or proof of guilt.

   8                 All right.   I've answered your questions.        I'm going to

   9     let you go back now and you may continue your deliberations.

  10     You may eat as you deliberate, as long as all 12 of you are

  11     there and all 12 of you are present for any discussion,

  12     deliberation.     Or you may eat separately, whatever you wish.

  13                 And I will -- it will take a few minutes.         It will take

  14     about 20 minutes for me to provide you with a copy of the

  15     indictment in the proper form.        But I've given you the copy --

  16     yes, I've given the court security officer the copy of the

  17     verdict form page that is changed, as you called my attention to

  18     my error.

  19                 You may follow the court security officer out.

  20                 COURT SECURITY OFFICER:      Do you want anything done with

  21     the other copy of this in there?

  22                 THE COURT:   No.   Because I don't think they filled it

  23     out.   They're still talking about it.         So that can -- that's

  24     discarded.    It's replaced with this.

  25                 (Jury out at 10:47 a.m.)




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   1                THE COURT:    Any problems with anything I said to the

   2     jury, Mr. Fitzpatrick?

   3                MR. FITZPATRICK:     No, Your Honor.

   4                THE COURT:    Mr. MacMahon?

   5                MR. MACMAHON:    No, Your Honor.

   6                THE COURT:    I don't think we need the page that was

   7     wrong, so that's why I said it can be discarded.

   8                All right.    So you're now going to repair -- get the

   9     indictment ready, and bring it back?

  10                MR. FITZPATRICK:     Yes.

  11                THE COURT:    All right.    We'll convene briefly for that

  12     just so I can put on the record that now we have it, and you

  13     both agree to the redactions and to the form in which it's going

  14     to be given to the jury.       And I'll have the court security

  15     officer give it to the jury.

  16                MR. FITZPATRICK:     Thank you, Judge.

  17                Judge, I actually looked at the indictment.          It's not

  18     going to be as difficult as I was imagining to make this

  19     correction.    I was wondering at the break, could we confer with

  20     Ms. Randall and we may be able to do it even quicker.               It's

  21     entirely up to her, or you.

  22                THE COURT:    Well, I take it what you're suggesting is

  23     that there are certain portions of it you want to white out or

  24     something?

  25                MR. FITZPATRICK:     Upon looking at it, the formal




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   1     statutory charges are all at the end, so we basically just have

   2     to remove numerous pages.

   3                THE COURT:    You and Mr. MacMahon do as you think you've

   4     agreed and is appropriate.       I've told them I'm going to give

   5     them a copy of the indictment, but as redacted.          If Ms. Randall

   6     can be of assistance to you, that's fine with me.

   7                MR. FITZPATRICK:     Thank you.

   8                THE COURT:    Let's get it done.     And then we'll

   9     reconvene, I'll look at it to make sure I agree with it, and if

  10     I do, I'll give it to the court security officer and he'll

  11     deliver it to the jury.

  12                MR. FITZPATRICK:     Thank you.

  13                THE COURT:    Court stands in recess for -- you should be

  14     able to do it in 15 minutes?

  15                MR. FITZPATRICK:     Yes.

  16                (Recess taken at 10:49 a.m.)

  17                THE COURT:    The record will reflect that the defendant

  18     is present and prepared to proceed.

  19                Counsel acted as diligently and expeditiously as they

  20     said they were going to.       I have the redacted indictment, and I

  21     think it is appropriately redacted.        The original, of course,

  22     would have said there were 24 pages, and you've been careful to

  23     eliminate page numbers, to eliminate the page numbers so they

  24     can't draw any inferences.       And what is left is each count, the

  25     charge in each count.      And I think that the parties have




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   1     appropriately agreed to a form of the indictment that can be

   2     given to them.     Also redacted are the signatures.

   3                Let me have the court security officer -- is he not

   4     here?    Show it to them at the podium.       Let's make sure that what

   5     I'm actually handing to the court security officer is what

   6     you-all agreed to.      They don't need to convene.

   7                COURT SECURITY OFFICER:      They're back there having

   8     their lunch.

   9                THE COURT:    Good.   I'm going to give to you; as soon as

  10     counsel have reviewed it, the indictment as it's been redacted,

  11     you can simply hand it to them.

  12                Hand that to the court security officer, please, and he

  13     will deliver it to the jury.       Why don't you do that and return

  14     and tell us that you've done it, and then we'll recess for our

  15     lunch.

  16                MR. FITZPATRICK:      Judge, is there a necessity to upload

  17     that to the docket along with the note, or however the

  18     record-keeping is kept?

  19                THE COURT:    No, I don't see any necessity.       Do you wish

  20     that to be done?     I'll do it if either party requests it.

  21                MR. FITZPATRICK:      Maybe if we can just get a copy of it

  22     for our files.

  23                THE COURT:    Yes.    Essentially what's happened is

  24     there's a title page and then there's a page for each count, and

  25     that's all that the jury is being given.         Signatures are gone,




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   1     page numbers are gone, all of the overt acts, everything else,

   2     none of that is in there.       And I think for their purposes, this

   3     is all they need.

   4                All right.    The court security officer has reported

   5     that he has delivered it and they are having lunch.

   6                COURT SECURITY OFFICER:      Yes, sir.

   7                THE COURT:    All right.    We'll recess now until either

   8     the jury reaches a verdict or we have a further question.              I

   9     thank counsel.     Court stands in recess.

  10                (Recess taken at 11:05 a.m.)

  11                THE COURT:    All right.    We have a further note, but

  12     this one is the final note:       "4/14/22 at 12:15 p.m., the jury

  13     has a verdict."     Signed Jennifer Murray, Number 26, who I take

  14     it to be the foreperson.

  15                All right.    You may bring the jury in.

  16                MR. FITZPATRICK:     Judge, we would like to get the

  17     family members here.      They're at the hotel across the street.

  18     Could we take this in, say, 20 minutes?

  19                THE COURT:    Yes, we can do that.

  20                Tanya, tell the court security officer, not yet.

  21                I wouldn't ordinarily do this, but these are

  22     extraordinary or exceptional circumstances.

  23                MR. FITZPATRICK:     If we can get everyone here sooner,

  24     we will tell you as soon as possible.

  25                THE COURT:    Let 's recess this, but let's make it very




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   1     quick.

   2                MR. FITZPATRICK:     We will.

   3                THE COURT:    I will assume they'll be here in

   4     15 minutes.

   5                MR. FITZPATRICK:     Perfect.

   6                THE COURT:    We'll begin at quarter to 1:00 [sic].

   7     Court stands in recess.

   8                (Recess taken at 11:31 a.m.)

   9                THE COURT:    We have a note from the jury, it reads as

  10     follows:    "4/14/22, 12:15 p.m., We have a verdict."

  11     Jennifer Murray, Juror Number 26.

  12                The way in which a verdict is received in this court is

  13     the jury will be brought in, the deputy clerk will inquire

  14     whether the jury has reached its verdict.         Upon receiving an

  15     affirmative answer from the foreperson, the deputy clerk will

  16     ask for the verdict form to be given to the court security

  17     officer, who will give it to her, who will give it to me, and I

  18     will review it for any formal deficiencies; that is, they didn't

  19     sign it or they have the wrong date or something of that sort.

  20                And if there is a formal deficiency, I will have you

  21     put on your earphones, we'll deal with it, and take whatever

  22     steps are necessary.      If there are no formal deficiencies, I

  23     will have the deputy clerk publish the verdict, which means that

  24     with the defendant standing and facing the jury, the deputy

  25     clerk will read the jury verdict form.




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   1                 Following that, I will direct the deputy clerk to poll

   2     the jury to ensure that the verdict is the verdict of each

   3     individual juror.      And following that, I will have an

   4     opportunity to thank the jurors for their service and excuse

   5     them.    And after that, I have the normal function, if necessary,

   6     either to have the defendant released from these charges - there

   7     may be others, I don't know - or, in the alternative, to set a

   8     date for sentencing and so forth.

   9                 All right.   Now you may bring the jury in.        Are they in

  10     the back?

  11                 COURT SECURITY OFFICER:      Yes, sir.

  12                 THE COURT:   So you-all may remain seated until you hear

  13     the knock on the door.

  14                 MR. FITZPATRICK:    Judge, can we inquire if the phone

  15     line is open?     It is, thank you.

  16                 THE COURT:   I think that was for family members in the

  17     United Kingdom, maybe elsewhere.

  18                 MR. FITZPATRICK:    Actually, we wouldn't be as opposed

  19     to if it was open generally.        It doesn't have to be to a certain

  20     group.

  21                 COURTROOM CLERK:    It's just for the victims' families.

  22                 THE COURT:   Just for the victims' families.

  23                 MR. FITZPATRICK:    If that's what it is, that's fine.

  24                 THE COURT:   I think I did that, and the only reason I

  25     did it was that was the request.




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   1                MR. FITZPATRICK:     Yes.

   2                (Jury in at 11:49 a.m.)

   3                THE COURT:    Ladies and gentlemen, I have a note that is

   4     dated 4/14/22, 12:15 p.m., and the note says succinctly, "The

   5     jury has a verdict."      And it is signed by Jennifer Murray,

   6     Number 26.    There, Jennifer Murray, Number 26.        And I take it,

   7     Ms. Murray, you're the foreperson?

   8                JUROR:   I am not.

   9                JURY FOREPERSON:     I am.

  10                THE COURT:    This is how we will receive the verdict in

  11     this court.    In a few moments I'll have Ms. Randall, the deputy

  12     clerk, ask the jury if you've reached a verdict, and then the

  13     foreperson can say, yes, we have.        She will ask you to give the

  14     verdict form to the court security officer, who will give it to

  15     her, who will give it to me.       And I'll review it briefly just

  16     for form, to ensure that there are no formal deficiencies; maybe

  17     you didn't sign it, put the wrong date on it, left some things

  18     blank that shouldn't have been.         And, if so, I will have counsel

  19     on the earphones to decide what to do.

  20                But if there are no formal problems, I will then have

  21     the deputy clerk publish the verdict, in which case the

  22     defendant will stand, face the jury, and Ms. Randall will read

  23     the form with your verdict.

  24                Following that, I will direct Ms. Randall to poll the

  25     jury individually to ensure it is your verdict.          And following




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   1     that, it will be my duty and my privilege to thank you for your

   2     service, to give you some final words maybe of caution, and to

   3     allow you to go home.

   4                 All right.   Ms. Randall, you may proceed.

   5                 COURTROOM CLERK:    Mr. Foreman, has the jury agreed on a

   6     verdict?

   7                 JURY FOREPERSON:    We have.

   8                 COURTROOM CLERK:    Will you hand it to the court

   9     security officer?

  10                 THE COURT:   So Count 8 is here, but it's not stated.

  11     All right.    I will have the deputy clerk staple that so it's

  12     attached.    And the previous Count 8 is here, but there is a line

  13     through it indicating you didn't fill it out because of the

  14     error that I made that I informed you about.

  15                 All right.   You may staple those and then you may

  16     publish the verdict.

  17                 COURTROOM CLERK:    Will the defendant please stand and

  18     face the jury.

  19                 In the criminal case United States of America versus

  20     El Shafee Elsheikh, case number 2020-CR-239, as to Count 1,

  21     conspiracy to commit hostage-taking, we the jury unanimously

  22     find the defendant, El Shafee Elsheikh, guilty of conspiring to

  23     commit hostage-taking as charged in Count 1 of the indictment.

  24                 We the jury unanimously find that a death resulted from

  25     the commission of this offense, and that the defendant is




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   1     therefore guilty of conspiring to commit hostage-taking

   2     resulting in death.

   3                Count 2, hostage-taking, James Wright Foley:             We the

   4     jury unanimously find the defendant, El Shafee Elsheikh, guilty

   5     of hostage-taking as charged in Count 2 of the indictment.              We

   6     the jury unanimously find that James Wright Foley's death

   7     resulted from the commission of this offense, and that the

   8     defendant is therefore guilty of hostage-taking resulting in

   9     death.

  10                Count 3, hostage-taking, Kayla Jean Mueller:             We the

  11     jury unanimously find the defendant, El Shafee Elsheikh, guilty

  12     of hostage-taking as charged in Count 3 of the indictment.              We

  13     the jury unanimously find that Kayla Jean Mueller's death

  14     resulted from the commission of this offense, and that the

  15     defendant is therefore guilty of hostage-taking resulting in

  16     death.

  17                Count 4, hostage-taking, Steven Joel Sotloff:            We the

  18     jury unanimously find the defendant, El Shafee Elsheikh, guilty

  19     to hostage-taking as charged in Count 4 of the indictment.              We

  20     the jury unanimously find that Steven Joel Sotloff's death

  21     resulted from the commission of this offense, and that the

  22     defendant is therefore guilty of hostage-taking resulting in

  23     death.

  24                Count 5, hostage-taking, Peter Edward Kassig:            We the

  25     jury unanimously find the defendant, El Shafee Elsheikh, guilty




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   1     of hostage-taking as charged in Count 5 of the indictment.             We

   2     the jury unanimously find that Peter Edward Kassig's death

   3     resulted from the commission of this offense, and that the

   4     defendant is therefore guilty of hostage-taking resulting in

   5     death.

   6                Count 6, conspiracy to murder U.S. nationals outside

   7     the United States:      We the jury unanimously find the defendant,

   8     El Shafee Elsheikh, guilty of conspireing to murder

   9     U.S. nationals outside the United States, as charged in Count 6

  10     of the indictment.

  11                Count 7, conspiracy to provide material support to

  12     terrorists:    We the jury unanimously find the defendant,

  13     El Shafee Elsheikh, guilty of conspiring to provide material

  14     support to terrorists as charged in Count 7 of the indictment.

  15     We the jury unanimously find that a death resulted from the

  16     commission of this offense, and that the defendant is therefore

  17     guilty of conspiring to provide material support to terrorists

  18     resulting in death.

  19                Count 8, conspiracy to provide material support to a

  20     Foreign Terrorist Organization:        We the jury unanimously find

  21     the defendant, El Shafee Elsheikh, guilty of conspiring to

  22     provide material support to a Foreign Terrorist Organization, as

  23     charged in Count 8 of the indictment.         We the jury unanimously

  24     find that a death resulted from the commission of this offense,

  25     and that the defendant is therefore guilty of conspiring to




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   1     provide material support to a Foreign Terrorist Organization

   2     resulting in death.

   3                So say we all, this 14th day of April, 2022,

   4     Foreperson.

   5                THE COURT:    All right.    You may poll the jurors

   6     individually to ensure that is their verdict.          You didn't read

   7     the name of the foreperson.

   8                COURTROOM CLERK:     I did not, Judge.

   9                THE COURT:    All right.    Let's proceed.

  10                COURTROOM CLERK:     Juror Number 50, Laura Ann Younger,

  11     is this your verdict?

  12                JUROR:   Yes.

  13                COURTROOM CLERK:     Juror Number 29, Wayne Phoel, is this

  14     your verdict?

  15                JUROR:   Yes.

  16                COURTROOM CLERK:     Juror Number 3, James Bailes, is this

  17     your verdict?

  18                JUROR:   Yes.

  19                COURTROOM CLERK:     Juror Number 20, Alfred Keyser, is

  20     this your verdict?

  21                JUROR:   Yes.

  22                COURTROOM CLERK:     Juror Number 50, Esther Zangeneh, is

  23     this your verdict?

  24                JUROR:   Yes.

  25                COURTROOM CLERK:     Juror Number 22, John Kugelman, is




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   1     this your verdict?

   2                JUROR:   Yes.

   3                COURTROOM CLERK:     Juror Number 26, Jennifer Murray, is

   4     this your verdict?

   5                JUROR:   Yes.

   6                COURTROOM CLERK:     Juror Number 14, Mirenda Fields, is

   7     this your verdict?

   8                JUROR:   Yes.

   9                COURTROOM CLERK:     Juror Number 14, Anne Fay, is this

  10     your verdict?

  11                JUROR:   Yes.

  12                COURTROOM CLERK:     Juror Number 10, Erica Denham, is

  13     this your verdict?

  14                JUROR:   Yes.

  15                COURTROOM CLERK:     Juror Number 30, Camille Morrison, is

  16     this your verdict?

  17                JUROR:   Yes.

  18                COURTROOM CLERK:     And Juror Number 47, Adrian White, is

  19     this your verdict?

  20                JUROR:   Yes.

  21                THE COURT:    All right.    You may be seated.     All right.

  22     Ladies and gentlemen, it is now my privilege and my duty to

  23     thank you for your service as jurors.         It is quite apparent to

  24     the Court that you paid careful and close attention to the

  25     evidence as it was presented over this nearly three-week period,




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   1     and some of the evidence was not easy to listen to.           But you

   2     were diligent and careful in your listening to the evidence, and

   3     it is apparent to the Court that you deliberated conscientiously

   4     in order to arrive at a unanimous verdict.

   5                And so on behalf of the court, and indeed our country,

   6     we thank you for your service as jurors.

   7                Now, you are no longer under any constraints about

   8     speaking to whomever you please about this case.           In that

   9     regard, however, let me offer a word of caution to you.             I am

  10     always upset when I see in the media people who have served on

  11     juries in notable cases, and they go on the media to discuss

  12     what went on in the course of their deliberations with their

  13     fellow jurors.     That seems to me to be wrong.       That seems to me

  14     to do an injury to the deliberative jury process.           If jurors

  15     knew in advance that everything they said and did in the course

  16     of deliberations was going to be grist for the media mill, I

  17     think it would have a chilling effect on jury deliberations.

  18                So I suggest to you - and it is a suggestion, not an

  19     order - that you have a duty of confidentiality to your fellow

  20     jurors as to what went on in the course of deliberations.              But

  21     that's a decision you must make.        It is not an order of the

  22     court.

  23                Now, let me tell you a little bit about the future.               I

  24     will order the preparation of a presentence investigation

  25     report.    This is a report that will provide me with information




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   1     concerning the history of this defendant, and the education, the

   2     work history, his criminal history, if any, and, indeed,

   3     anything that might be material in any way to the Court's

   4     sentencing decision.

   5                Then, in roughly three months, or a little longer,

   6     there will be a sentencing hearing.        Now, the presentence

   7     investigation report will be reviewed by the defendant and by

   8     the government, and the defendant and the government will have

   9     the opportunity to register with the court their objections or

  10     corrections to what's said in the presentence report.               And if

  11     there are any disputes about that, then prior to the sentencing,

  12     I will have a hearing in which I will resolve any disputes.

  13     Then we'll come to sentencing.

  14                Now, I haven't set the date for the sentencing, so I

  15     don't know precisely when it will be.         I think I'll do that in

  16     just a few minutes, but not now.        I want to invite any of you to

  17     communicate with me.      This courthouse and this courtroom, even

  18     though my chambers are right here and I'm the only one here,

  19     it's not my courtroom, it's not my courthouse, and my chambers

  20     are only temporary.      I've been there for 30-plus years, but I'll

  21     be gone.

  22                So it isn't my courthouse, it's yours.         It's all of

  23     ours.   So you may come back and you may ask me questions about

  24     the process and give me your observations and your criticisms if

  25     you want to.     I will tell you, I make that invitation to all




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   1     jurors over the last many years, and a very tiny number bother

   2     to come back.     But it isn't that it's a bother, it's just that

   3     they're satisfied with what they did and they go on.           And some

   4     of you have had past jury service, so you know a good deal about

   5     it.

   6                Anyway, so this matter will proceed to sentencing.

   7     Now, there's one other thing I think you're entitled to know.

   8     You heard the name Alexanda Kotey, who the government contends

   9     is Beatle Number 1, 2, or 3.       Am I correct, Mister...

  10                MR. FITZPATRICK:     Fitzpatrick.

  11                THE COURT:    I'm sorry.

  12                MR. FITZPATRICK:     Well, we certainly contend he's one

  13     of The Beatles, Your Honor.       Yes.

  14                THE COURT:    That's right.     Now, he will be sentenced

  15     soon, but -- he will be sentenced, in fact, in about two weeks

  16     here.   And you're entitled -- they're public proceedings, just

  17     as this was a public proceeding.         You're entitled to be here

  18     and, of course, you can read about it.         And I don't invite

  19     persons to call my chambers, but for jurors, I give you that

  20     privilege.    You can also reach Ms. Randall at the clerk's office

  21     to find out.

  22                He will be sentenced in two weeks, and I think it is

  23     reasonable and fair for you to know that he pled guilty to all

  24     counts in the complaint.       You didn't know that, you weren't

  25     supposed to know that, and it didn't matter one way or the




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   1     other.    But I think after sitting here for nearly three weeks,

   2     you're entitled to know these things.

   3                All right.    Go home now and put the matter out of your

   4     mind.    I hope that none of you -- I think, as I observed, none

   5     of you have been seriously affected by what you had to listen

   6     to.    If I'm wrong about that, you may communicate with me about

   7     that.

   8                All right.    Take your books with you.      As I told you,

   9     they're yours.     No one is ever going to look at them.            They're

  10     yours, so do with them as you wish.        I hope you will keep in

  11     mind the caution that I gave you, but you're no longer under any

  12     court order to refuse to discuss the matter with anyone.

  13                Now, the lawyers may not contact you.        They are

  14     forbidden by local rule from calling you, for obvious reasons.

  15     When I practiced as an attorney trying cases, I never liked that

  16     rule.    I wanted to know what I did, how it affected people.            And

  17     in case you're wondering, I tried a lot of cases, and I would

  18     say maybe I won a quarter of the cases and lost three-quarters.

  19     That's why I'm a judge.      If you're really a successful lawyer,

  20     you don't want to be a judge.

  21                All right.    Thank you.    You may follow the court

  22     security officer out.

  23                (Jury out at 12:06 p.m.)

  24                THE COURT:    Mr. Elsheikh, come to the podium, please,

  25     sir.    Mr. Elsheikh, the Court will enter judgment on the verdict




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   1     of guilty on all counts.       At the time of the sentencing I'll

   2     enter a judgment and commitment order.

   3                Now, the Court will order the preparation of a

   4     presentence investigation report.        As you know, as you heard me

   5     say, that's an opportunity to provide information to the Court

   6     for purposes of imposing an appropriate sentence.

   7                Now, you will be asked to give a probation officer

   8     information.     You have a role to play in this.       You will be

   9     asked to give information about your family, your background,

  10     your education, your work experience, your version of the

  11     offense conduct, and indeed anything that may be material in any

  12     way to the Court's sentencing decision.         And you may have your

  13     counsel with you at the time that you do this.

  14                The government will also have the opportunity to

  15     register its objections or corrections.         And if you dispute

  16     theirs or they dispute those that you advance, then the Court

  17     will hold a hearing and hear argument and resolve the disputes

  18     before imposing sentence.

  19                At the time of sentencing, Mr. Elsheikh, you'll have

  20     the opportunity to address the Court, and to say anything at all

  21     you wish to the Court by way of extenuation, mitigation, or

  22     indeed anything you think the Court should know before sentence

  23     is imposed.    You won't be required to address the Court, but you

  24     will have the opportunity to do so if you wish to.           And, of

  25     course, your counsel will also have the opportunity to address




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   1     the Court on your behalf.

   2                I will set sentencing for the 5th of August.             Is that

   3     date available?     Or will counsel be in the South of France, in

   4     the sun?

   5                MR. FITZPATRICK:     The government will be available,

   6     Your Honor, obviously.      When defense counsel responds to you, I

   7     do want to make one proposal on sentencing.          But August 5th is

   8     fine with the government.

   9                MR. MACMAHON:    I'm not available, Your Honor.          And I

  10     won't be in the South of France.

  11                THE COURT:    Well, I can understand you'll probably be

  12     in Monaco or some other place.        But that's all right,

  13     Mr. MacMahon.

  14                MR. MACMAHON:    Ms. Ginsberg doesn't have her calendar.

  15                THE COURT:    How about the 12th of August?

  16                MR. MACMAHON:    That works.

  17                MS. GINSBERG:    I didn't have the foresight to bring my

  18     calendar, but I think it's far enough in advance.

  19                THE COURT:    If that's a real problem, let me know and

  20     I'll do what I can to accommodate you.

  21                Anything further today?      Mr. Elsheikh, you may be

  22     seated, sir.

  23                Yes, Mr. Fitzpatrick?

  24                MR. FITZPATRICK:     Judge, what the government proposes,

  25     as you've alerted the jury that was just dismissed, the




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   1     sentencing for Alexanda Kotey is April 29th, two weeks and a day

   2     from today.     Or two weeks from tomorrow.       At that hearing I

   3     anticipate significant victim impact testimony.           It perhaps will

   4     take several hours.

   5                 THE COURT:   I understand.     That's why I'm devoting the

   6     entire day to that sentence.        Is that what you were going to

   7     propose?

   8                 MR. FITZPATRICK:    No, what I was going to propose is

   9     that I ask that you order the defendant, El Shafee Elsheikh, to

  10     appear on April 29th, remand him to the custody of the

  11     marshals --

  12                 THE COURT:   So that it doesn't have to be repeated for

  13     his sentencing?

  14                 MR. FITZPATRICK:    Correct, Your Honor.       And then we

  15     proceed to the more substantive sentencing of Mr. Kotey.               And

  16     then the substantive sentencing for Mr. Elsheikh on August 12th.

  17                 THE COURT:   What's your view, Mr. MacMahon?

  18                 MR. MACMAHON:    I defer to the Court.      I'm not going to

  19     be here on the 29th, but he's got enough lawyers to sit through

  20     it.   If the Court wants to do that, I don't have an objection.

  21                 THE COURT:   Ms. Ginsberg, will you be here?

  22                 MS. GINSBERG:    I think so, Your Honor.

  23                 THE COURT:   Do you have a problem with what's proposed?

  24                 MS. GINSBERG:    I don't have any problem with the

  25     proposal.




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   1                THE COURT:    Thank you.    I'll do that.

   2                MR. FITZPATRICK:     Thank you, Your Honor.

   3                THE COURT:    Now, while I'm saying that, I want to note

   4     that the Court thanks counsel on both sides, the government and

   5     the defendant, for their cooperation and their work in this

   6     case.   It hasn't been easy.

   7                And I think it's important for me to note also that I

   8     think that Mr. Elsheikh has been fully effectively represented

   9     by counsel.    I think both sides have done a good job.             But it's

  10     important for me to note that for the defendant, because he has

  11     appointed counsel.      And when I appointed counsel, I appointed

  12     very experienced counsel, and I did so with that in mind.              And

  13     it has worked out appropriately.

  14                I think that any fair-minded observer would conclude

  15     that the defendant has been fully and effectively represented,

  16     and the government presented a thorough case and the defendant

  17     made it a horse race.      The government had to respond.

  18                I think the central issue, of course, was always, was

  19     Mr. Elsheikh a...

  20                MR. FITZPATRICK:     A Beatle.

  21                THE COURT:    Beg your pardon?     A Beatle, yes.        That's

  22     the central issue.      And I think the lawyers did a good job of

  23     presenting that and defending that.         And I think it's important

  24     for me to note that.

  25                Anything else, Mr. Fitzpatrick?




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   1                MR. FITZPATRICK:     Yes, Your Honor.     So we'll reappear,

   2     is it 9 a.m. on April 29th, and the defendant will be ordered to

   3     appear at that time?

   4                THE COURT:    It is at 9:00.    I have another sentencing

   5     at 8:00.

   6                MR. FITZPATRICK:     That's early morning.

   7                THE COURT:    Yes.   So it will be soon after 9:00, if it

   8     isn't 9:00.    And the defendant in this case, El Shafee Elsheikh,

   9     is required to attend that.       And the purpose for that is so that

  10     the family doesn't have to appear twice.         The family -- as I

  11     understand it, Mr. Fitzpatrick, you are advising the Court that

  12     you wish to have the family as victims, under the law.              The law

  13     is quite clear that victims get an opportunity to appear at

  14     sentencing, and you think they will?

  15                MR. FITZPATRICK:     Several, yes, Your Honor.

  16                THE COURT:    All right.    I would be interested, on that

  17     date, at the beginning, to know how many and how long you think

  18     it will take.

  19                MR. FITZPATRICK:     We'll provide that, Your Honor.

  20                THE COURT:    Anything else to be accomplished today on

  21     behalf of the government, Mr. Fitzpatrick?

  22                MR. FITZPATRICK:     No, Your Honor, not for the

  23     government.

  24                THE COURT:    And on behalf of the defendant,

  25     Mr. MacMahon or Ms. Ginsberg?




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   1                MR. MACMAHON:    No, Your Honor.

   2                THE COURT:    Ms. Ginsberg?    You're conferring with your

   3     client.

   4                MS. GINSBERG:    Yes, if I may have just a moment.

   5                MR. MACMAHON:    While she confers, Your Honor, Mr. Ellis

   6     will be in trial on the 29th as well, so he won't be able to

   7     appear for that hearing.

   8                MS. GINSBERG:    Your Honor, if I could have a moment.

   9     Mr. Elsheikh has raised a point that I would like to discuss

  10     with the government.

  11                THE COURT:    All right.

  12                So Mr. Ellis will not be here on the 29th?

  13                MR. ELLIS:    I'll be right downstairs, but I'm in front

  14     of Judge Trenga.

  15                MS. GINSBERG:    Your Honor, I have nothing further to

  16     add.   Thank you.

  17                THE COURT:    All right.    Given there's nothing further

  18     to accomplish today, this matter is -- the court is in recess.

  19     You may recess the court.

  20                (Off the record at 12:15 p.m.)

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   1                   CERTIFICATE OF OFFICIAL COURT REPORTER

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   3                I, Rebecca Stonestreet, certify that the foregoing is a

   4     correct transcript from the record of proceedings in the

   5     above-entitled matter.

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   9     ___//Rebecca Stonestreet//___                     __10/24/22____

  10     SIGNATURE OF COURT REPORTER                          DATE

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